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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                         MARSHALL DIVISION

BARCO, INC. et al.,                                      §
                                                         §
               Plaintiffs,                               §       CIVIL ACTION NO. 2:23-cv-00521-JRG-RSP
                                                         §
v.                                                       §
                                                         §
YEALINK (USA) NETWORK                                    §
TECHNOLOGY CO., LTD. et al.,                             §
                                                         §
               Defendants.                               §


                                        DOCKET CONTROL ORDER

           In accordance with the scheduling conference held in this case, it is hereby ORDERED

    that the following schedule of deadlines is in effect until further order of this Court:


     September 8, 2025             *Jury Selection – 9:00 a.m. in Marshall, Texas

     7 days before Jury            *Defendant to disclose final invalidity theories, final prior art
     Selection                     references/combinations, and final equitable defenses. 1

     10 days before Jury           *Plaintiff to disclose final election of Asserted Claims. 2
     Selection

     August 11, 2025               * If a juror questionnaire is to be used, an editable (in Microsoft Word
                                   format) questionnaire shall be jointly submitted to the Deputy Clerk
                                   in Charge by this date. 3

     August 4, 2025                *Pretrial Conference – 9:00 a.m. in Marshall, Texas before Judge
                                   Roy Payne




1
  The proposed DCO shall include this specific deadline. The deadline shall read, “7 days before Jury Selection,” and
shall not include a specific date.
2
  Given the Court’s past experiences with litigants dropping claims and defenses during or on the eve of trial, the Court
is of the opinion that these additional deadlines are necessary. The proposed DCO shall include this specific deadline.
The deadline shall read, “10 days before Jury Selection,” and shall not include a specific date.
3
  The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in Advance of Voir
Dire.
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 July 28, 2025        *Notify Court of Agreements Reached During Meet and Confer

                      The parties are ordered to meet and confer on any outstanding
                      objections or motions in limine. The parties shall advise the Court of
                      any agreements reached no later than 1:00 p.m. three (3) business
                      days before the pretrial conference.

 July 28, 2025        *File Joint Pretrial Order, Joint Proposed Jury Instructions, Joint
                      Proposed Verdict Form, Responses to Motions in Limine, Updated
                      Exhibit Lists, Updated Witness Lists, and Updated Deposition
                      Designations

 July 21, 2025        *File Notice of Request for Daily Transcript or Real Time Reporting.

                      If a daily transcript or real time reporting of court proceedings is
                      requested for trial, the party or parties making said request shall file
                      a notice with the Court and e-mail the Court Reporter, Shawn
                      McRoberts, at shawn_mcroberts@txed.uscourts.gov.

 July 15, 2025        File Motions in Limine

                      The parties shall limit their motions in limine to issues that if
                      improperly introduced at trial would be so prejudicial that the Court
                      could not alleviate the prejudice by giving appropriate instructions to
                      the jury.

 July 15, 2025        Serve Objections to Rebuttal Pretrial Disclosures

 July 8, 2025         Serve Objections to Pretrial Disclosures; and Serve Rebuttal Pretrial
                      Disclosures

 June 23, 2025        Serve Pretrial Disclosures (Witness List, Deposition Designations,
                      and Exhibit List) by the Party with the Burden of Proof

 June 2, 2025         *File Motions to Strike Expert Testimony (including Daubert
                      Motions)

                      No motion to strike expert testimony (including a Daubert motion)
                      may be filed after this date without leave of the Court.




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 June 2, 2025          *File Dispositive Motions

                       No dispositive motion may be filed after this date without leave of
                       the Court.

                       Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
                       Motions to extend page limits will only be granted in exceptional
                       circumstances. Exceptional circumstances require more than
                       agreement among the parties.

 May 23, 2025          Deadline to Complete Expert Discovery

 May 7, 2025           Serve Disclosures for Rebuttal Expert Witnesses

 April 18, 2025        Deadline to Complete Fact Discovery and File Motions to Compel
                       Discovery

 April 18, 2025        Serve Disclosures for Expert Witnesses by the Party with the Burden
                       of Proof

 April 1, 2025         Comply with P.R. 3-7 (Opinion of Counsel Defenses)

 2 Weeks After the     Submit Joint Notice Indicating Whether the Case Should Be Referred
 Court’s Issuance of   For Mediation
 Claim Construction
 Order

 March 11, 2025        *Claim Construction Hearing – 9 a.m. in Marshall, Texas before
                       Judge Roy Payne

 February 25, 2025     *Comply with P.R. 4-5(d) (Joint Claim Construction Chart)

 February 18, 2025     *Comply with P.R. 4-5(c) (Reply Claim Construction Brief)

 February 11, 2025     Comply with P.R. 4-5(b) (Responsive Claim Construction Brief)

 January 28, 2025      Comply with P.R. 4-5(a) (Opening Claim Construction Brief) and
                       Submit Technical Tutorials (if any)

                       Good cause must be shown to submit technical tutorials after the
                       deadline to comply with P.R. 4-5(a).

 January 28, 2025      Deadline to Substantially Complete Document Production and
                       Exchange Privilege Logs

                       Counsel are expected to make good faith efforts to produce all
                       required documents as soon as they are available and not wait until
                       the substantial completion deadline.


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     January 14, 2025           Comply with P.R. 4-4 (Deadline to Complete Claim Construction
                                Discovery)

     January 7, 2025            File Response to Amended Pleadings

     December 23, 2024          *File Amended Pleadings

                                It is not necessary to seek leave of Court to amend pleadings prior to
                                this deadline unless the amendment seeks to assert additional patents.

     December 17, 2024          Comply with P.R. 4-3 (Joint Claim Construction Statement)

     November 22, 2024          Comply with P.R. 4-2 (Exchange Preliminary Claim Constructions)

     November 5, 2024           Comply with P.R. 4-1 (Exchange Proposed Claim Terms)

     May 13, 2024               Comply with Standing Order Regarding Subject-Matter Eligibility
                                Contentions 4

     May 13, 2024               Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)

     April 15, 2024             *File Proposed Protective Order and Comply with Paragraphs 1 & 3
                                of the Discovery Order (Initial and Additional Disclosures)

                                The Proposed Protective Order shall be filed as a separate motion
                                with the caption indicating whether or not the proposed order is
                                opposed in any part.

     April 8, 2024              *File Proposed Docket Control Order and Proposed Discovery Order

                                The Proposed Docket Control Order and Proposed Discovery Order
                                shall be filed as separate motions with the caption indicating whether
                                or not the proposed order is opposed in any part.

     April 1, 2024              Join Additional Parties

     March 25, 2024             Scheduling Conference 10 AM in Courtroom 106 in Marshall, Texas.

     March 11, 2024             Comply with P.R. 3-1 & 3-2 (Infringement Contentions)
    (*) indicates a deadline that cannot be changed without an acceptable showing of good
    cause. Good cause is not shown merely by indicating that the parties agree that the
    deadline should be changed.

                                  ADDITIONAL REQUIREMENTS

            Mediation: While certain cases may benefit from mediation, such may not be appropriate
    for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
4
 http://www.txed.uscourts.gov/sites/default/files/judgeFiles/EDTX%20Standing%20Order%20
Re%20Subject%20Matter%20Eligibility%20Contentions%20.pdf            [https://perma.cc/RQN2- YU5P]
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benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court’s claim construction order. As a
part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of
the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.
        Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
“[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
an Order granting leave to designate different lead counsel. The true lead counsel should be
designated early and should not expect to parachute in as lead once the case has been largely
developed.

         Motions for Continuance: The following will not warrant a continuance nor justify a
failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

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       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”

           Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
  the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
. shall also specify the nature of each theory of infringement, including under which subsections of
  35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
  infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
  theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
  written description, enablement, or any other basis for invalidity. The Defendant shall also specify
  each prior art reference or combination of references upon which the Defendant shall rely at trial,
  with respect to each theory of invalidity. Other than as set forth in the above deadlines, the
  contentions of the Parties may not be amended, supplemented, or dropped without leave of the
  Court based upon a showing of good cause. The Parties in a case which has been consolidated for
  pre-trial purposes and which is moving towards a separate trial on the merits (subsequent to pre-
  trial) shall file, as an exhibit to the parties’ Joint Pretrial Order, a list identifying all docket entries
  from the lead case that relate to the applicable member case.
           Trial: All parties must appear in person at trial. All non-individual (including but not
  limited to corporate) parties must appear at trial through the presence in person of a designated
  representative. Once they have appeared, any representative of a non-individual party shall not be
  replacedSIGNED
            or substituted    without
                        this 3rd      express
                                 day of        leave2012.
                                         January,    of Court.

        SIGNED this 9th day of April, 2024.




                                                           ____________________________________
                                                           ROY S. PAYNE
                                                           UNITED STATES MAGISTRATE JUDGE




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